Case 10-93904-BHL-11        Doc 1095 Filed 03/16/12 EOD 03/16/12 14:30:16         Pg 1 of 2
                           SO ORDERED: March 16, 2012.




                           ______________________________
                           Basil H. Lorch III
                           United States Bankruptcy Judge



                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA

 IN RE:                                        )       Chapter 11
                                               )
 EASTERN LIVESTOCK CO., LLC,                   )       CASE NO.: 10–93904–BHL–11
                                               )
                Debtor.                        )       Hon. Basil H. Lorch, III
                                               )

 RUSH CREEK RANCH, LLLP,                 )             Adv. Pro. No. 11-59104
                                         )
             Plaintiff,                  )
                                         )
 v.                                      )
                                         )
 EASTERN LIVESTOCK COMPANY, LLC,         )
 ARCADIA STOCKYARD, CATTLEMEN’S          )
 LIVESTOCK MARKET, COLUMBIA              )
 LIVESTOCK MARKET OF LAKE CITY, INC., )
 HARDEE LIVESTOCK MARKET, INC.,          )
 NORTH FLORIDA LIVESTOCK MARKET,         )
 OCALA LIVESTOCK MARKET, INC.,           )
 OKEECHOBEE LIVESTOCK MARKET,            )
 SUMTER COUNTY FARMER’S MARKET, INC. )
 TOWNSEND LIVESTOCK MARKET, FIFTH        )
 THIRD BANK, JAMES BYRD, a/k/a I.E. BYRD )
 OAK LAKE CATTLE COMPANY, INC., D&R )
 TRUCKING, RON SIZEMORE TRUCKING,        )
 INC., BANKS 1-25, and DOES 25-50,       )
                                         )
             Defendants.                 )
                                         )

                    ORDER GRANTING MOTION TO CONSOLIDATE

          THIS MATTER, having come before the Court upon the Renewed Florida Creditors

 Motion To Consolidate claims (Doc. 1081)(also Doc. 44, AP Case No. 11-59104) filed by
Case 10-93904-BHL-11        Doc 1095     Filed 03/16/12    EOD 03/16/12 14:30:16       Pg 2 of 2


 Hilliard–McKettrick Investments, Inc. d/b/a Arcadia Stockyard; Cattlemen’s Livestock Market,

 Inc.; Columbia Livestock Market, Inc.; Hardee Livestock Market, Inc.; North Florida Livestock

 Market, Inc.; Ocala Livestock Market, Inc.; Okeechobee Livestock Market, Inc.; Sumter County

 Farmers Market, Inc.; and Madison County Livestock Market, Inc. d/b/a Townsend Livestock

 Market; Ron Sizemore Trucking, Inc.; Oak Lake Cattle Co.; Eagle Bay, Inc.; and Daniel M.

 Byrd (collectively “Florida Creditors”) and the Court having considered the matter and being

 advised on its premises, IT IS HEREBY ORDERED that said Motion be, and is hereby,

 GRANTED as follows:

        1.     Claims of the Florida Creditors shall be consolidated into the Rush Creek

 Adversary Proceeding, including claims to the Rush Creek interpled and Purchase Money funds

 held by the Trustee and such other claims as may be brought before the Court;

        2.     Within twenty (20) days from the entry of this Order, the Florida Creditors shall

 file an amended answer in the consolidated case expanded to include the claims asserted for the

 Rush Creek interpled and Purchase Money funds and such other claims as may be brought before

 the Court;

        3.     The Florida Creditors Rule 7042 Motion To Consolidate (Doc. 975)(also Doc. 29,

 AP Case No. 11-59104) is mooted by this Order.

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